
150 B.R. 134 (1992)
In re KULZER ROOFING, INC., Debtor.
Civ. A. No. 92-2759.
United States District Court, E.D. Pennsylvania.
August 19, 1992.

ORDER
VAN ANTWERPEN, District Judge.
AND NOW, this 17th day of August, 1992, after full consideration of the appeal of the April 10, 1992, 139 B.R. 132, Order of the United States Bankruptcy Court for the Eastern District of Pennsylvania, Scholl, J., and the briefs filed by the parties, it is hereby ORDERED that the Order of the Bankruptcy Court is AFFIRMED in its entirety, and this Court adopts in full the Opinion of the Bankruptcy Court.
